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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

Kathy Loy                                  Civil Action No. 3:17-cv-01428
     Plaintiff
                                           (Malachy E. Mannion)
v.

Mahanoy Area School District
and Dr. Joie Green
     Defendants



             CONFIDENTIALITY STIPULATION AND ORDER

     Subject to the approval of the Court, Plaintiff, Kathy Loy, and Defendants,
Mahanoy Area School District and Dr. Joie Green, stipulate as follows:

       WHEREAS, in connection with certain information and data that
Defendants and Plaintiff (referred to at times below collectively as “the parties”)
are disclosing/producing in the above-captioned case, the parties agree to handle
such information and data as provided in this Stipulation;

       NOW, THEREFORE, the parties, intending to be legally bound, stipulate
as follows:

1. Confidential Information.

“Confidential Information” means any information disclosed in the above-
captioned case by the parties, either directly or indirectly, in writing, orally,
electronically or by inspection of tangible objects or data (including, without
limitation, documents, prototypes and samples) and all notes, analyses,
compilations, studies or other documents prepared by the parties that contain or
reflect such information.

Confidential Information includes, without limitation, the parties’ financial records
and tax records, financial and tax records of non-parties, job applications, records
of non-public meetings, notes, non-public written and other communications of
any kind, know-how, intellectual property, proprietary information, human
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resources records, records regarding business operations, records of non-public
internal discussions or deliberations of any kind, financial data, and all personnel
and medical information maintained by MASD about current and former
employees, information regarding present and former employees including,
without limitation, forms of any kind, names, birth dates, social security numbers,
insurance, family members, medical and/or psychiatric treatment/diagnoses,
diagnostic data, performance evaluations, and/or any other information about or
that identifies or concerns in any respect present and former employees.
Confidential Information also includes without limitation information concerning
minors who are or were students of MASD, including names, birth dates, social
security numbers, addresses, medical records, and educational records.
Confidential Information does not include privileged information or information
that cannot be legally disclosed. The parties need not expressly designate
Confidential Information by labeling it as such at the time of disclosure.

The parties will designate Confidential Information with the word “Confidential.”
A party does not waive the ability to designate Confidential Information if the
party does not do so when the documents are produced. Any dispute as to
confidentiality will be submitted to and resolved by the Court.

Confidential Information shall not, however, include any information that: (a) was
or is publicly known or made generally available to the public; or (b) becomes
publicly known or made generally available to the public through no action or
inaction of either party to this Agreement.

2. Non-use and Non-disclosure.

The parties shall not use any Confidential Information produced in this case for
any purpose except to litigate this case. The parties herein shall not disclose any
Confidential Information to third parties or to the parties’ employees except those
employees and representatives of the parties who are required to have the
information for the purpose of their jobs or carrying out this litigation. Where
needed the parties shall inform their employees and representatives of the
confidential nature of the information produced in this case and the existence of
this Confidentiality Stipulation and Order.

The parties shall comply with this Confidentiality Stipulation and Order in their
use and handling of Confidential Information.



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3. Exception to Non-Disclosure.

This Stipulated Order shall constitute the parties’ written authorization to provide
possession, knowledge or use of any Confidential Information to the parties’
lawyers, accountants, insurers, regulators, auditors, brokers, consultants and/or
reinsurers but only to the extent that such possession, knowledge or use of the
Confidential Information is required for the purpose of the above-captioned case.
To the extent that the parties’ lawyers, accountants, insurers, regulators, auditors,
brokers, consultants or reinsurers are provided possession, knowledge or use of any
Confidential Information, they shall also be made aware of the restrictions on the
Confidential Information, as hereby agreed to by the parties.

4. Maintenance of Confidentiality.

The parties shall take reasonable measures to protect the confidentiality and avoid
disclosure and unauthorized use of the Confidential Information that is produced in
the above-captioned case. Without limiting the foregoing, the parties shall take at
least those measures that it takes to protect their own most sensitive and
confidential information.

5. Compelled Disclosure.

If either party is requested or required by legal or administrative process to disclose
any Confidential Information, that party shall promptly notify the other party of
such request or requirement (unless legally prohibited) so that the other party may
promptly seek an appropriate protective order or other relief. Absent action within
seven (7) days of receipt of such notice by the other to obtain a protective order or
other relief, the party being required to disclose Confidential Information shall
disclose only that portion of the Confidential Information that the disclosing
party’s counsel determines is required to be disclosed and notify the other party
(unless legally prohibited) as soon as reasonably practicable of the items of
Confidential Information so disclosed.

6. Return of Materials.

All files, documents, electronic copies and other tangible objects containing or
representing Confidential Information that have been produced by either of the
parties hereto, and all copies thereof which are in the possession of either party, its
representatives and employees, shall be and remain the property of the party who
produced the Confidential Information and shall either be promptly returned to the
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party who produced the Confidential Information or destroyed upon the producing
party’s written request at a time when such information is no longer needed for this
litigation.

In the event that a party keeps a copy as a business record, it shall be kept
confidentially and protected to the same or greater extent that the party keeps and
maintains its Confidential Information; provided, however, that the record(s) shall,
at a minimum, be kept in a secure and locked location with appropriate stamps or
notices of confidentiality that the material is subject to this Agreement.

7. Inadvertent Production of Privileged Documents and Information.

In light of the significant volume of documents and information being produced in
the above-captioned case, the inadvertent production of any privileged
communication, document and/or information, whether in paper, electronic and/or
other form, shall not result in the waiver of any privilege, including but not limited
to the attorney-client and work product privileges. When a party discovers
privileged communications, information or documents that have been produced in
the above-captioned case, the party discovering such privileged items shall, upon
such discovery, notify the party who produced the items and return such items
immediately.

8. Entire Agreement.

This Stipulated Order constitutes the entire agreement and stipulation of the parties
with respect to the Confidential Information produced in the above-captioned case
and supersedes any and all prior oral or written discussions, negotiations,
understandings, agreements, or contracts regarding the Confidential Information.

9.    Court’s Authority.

The Court retains the right and authority to allow disclosure of any subject or
modify this Stipulated Order at any time in the interest of justice for cause shown.


[FURTHER TEXT AND SIGNATURE LINES ON NEXT PAGE]




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      IN WITNESS WHEREOF the parties have caused this Stipulation to be
executed as set forth herein.


LEVIN LEGAL GROUP, P.C.              MATUKAITIS LAW, LLC

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Counsel for Defendants

Date: May 9, 2018                    May 9, 2018




AND NOW, this            day                 2018 it is ORDERED that the
foregoing Stipulation is APPROVED and ORDERED by the Court:




                                        J.




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